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               UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF NEW JERSEY
                     NEWARK DIVISION

        ANDREAS ISAIAS                           :
                                                 :
                                                 :
                                                 :
        Petitioner,                               : Civil Action: 2:23-cv-935
                                                   :
         vs.                                       :
                                                   :
        YURI ALEXANDRA TORRES ARAQUE,              :
                                                   :
         Respondents.                              :
        _________________________________________ :

       TO:     Melissa E. Rhoads
               United States District Court
               District of New Jersey, Newark Division


       Please enter the default of Respondent, Yuri Alexandra Torres Araque, pursuant to Rule 55(a) of the

 Federal Rules of Civil Procedure for failure to plead or otherwise defend this action as fully appears from

 the court file herein and from the attached affirmation of Ari H. Gourvitz, Esq., counsel for Petitioner.


                                        /s/ Ari H. Gourvitz
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                                        Elliot H. Gourvitz, Esq. (Bar #255681969)
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